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EXHIBIT H
Case 2:19-cv-17721-BRM-ESK Document 27-10 Filed 10/20/20 Page 2 of 2 PagelD: 367

Rivers Law Firm, LLC Malt - Miroslaw Weirzbickl v. City of Jersey City, et. al, 10/11/20, 2:44 PM

 

Noel Rivers, Esq. <noel@riverslaw.net>

 

Miroslaw Weirzbicki v. City of Jersey City, et. al.

Noel Rivers, Esq. <noel@riverslaw.net> Wed, Aug 12, 2020 at 6:18 PM
To: Brittany Murray <BMurray@jenj.org>

 

Hi Brittany,

| finally received a response from the OPRA request, albeit a partial response. | attached it for your file so if | need to
discuss it tomorrow on the conference call tomorrow | wanted to make sure you had a copy. | was hoping to receive a
more thorough response prior to the conference tomorrow, but it took the city months to get these two pages to me.

Thanks,

On Wed, May 20, 2020 at 12:06 PM Brittany Murray <BMurray@jcnj.org> wrote:
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9 oe eee

https://mail.google.com/mail/u/171k=ba0896 3a7e&view=pt&search=...sg-a%3Ar2521838961464758587asimpl=msg-a%3Ar2621838961464 758587 Page 1 of 1
